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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DAVID T. USSERY
 6
 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,              )       CR.-S-05-0034
11                                          )
           PLAINTIFF,                       )       STIPULATION AND
12                                          )       ORDER TO CONTINUE JUDGMENT
           v.                               )       AND SENTENCE TO
13                                          )       SEPTEMBER 12, 2006
     JAY BRIAN McCASTLE and                 )
14   DAVID TALCOTT USSERY,                  )
                                            )
15         DEFENDANT.                       )
                                            )
16   ______________________________)
17
                            AGREEMENT AND STIPULATION
18
           The United States of America, represented by the United States Attorney for the
19
     Eastern District of California, by Assistant United States Attorney, Ms. Anne Pings,
20
     and the defendants, JAY BRIAN McCASTLE, represented by Mr. Tim Warriner, and
21
     DAVID T. USSERY, represented by Mr. James R. Greiner, hereby agree and stipulate
22
     that the Judgment and Sentencing of this matter may be continued from Tuesday,
23
     August 29, 2006, to Tuesday, September 12, 2006, at 9:30 a.m. in courtroom number
24
     4, on the 15th floor of the United States Courthouse, 501 I Street, before the Honorable
25
     Senior United States District Court Chief Judge Emeritus, Lawrence K. Karlton. The
26
     Tuesday, August 29, 2006, date may be vacated.
27
28                                              1
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 1          Counsel checked with the Court’s courtroom deputy clerk for the available date
 2   prior to filing the stipulation and proposed Order, and the date was cleared by the
 3   Court’s courtroom deputy clerk.
 4         It is so agreed and stipulated.
 5                                           McGregor W. Scott
                                             Untied States Attorney
 6   DATED: 8-18-06
 7                                           /s/ Anne Pings (authorized by in person
                                             authorization)
 8                                           _____________________________
                                             Ms. Anne Pings
 9                                           Assistant United States Attorney
10   DATED: 8-18-06
                                             /s/ Tim Warriner (authorized by in
11                                           authorization)
12                                           _____________________________
                                             Tim Warriner
13                                           Attorney for Jay Brian McCastle
14   DATED: 8-18-06
15                                           /s/ James R. Greiner
                                             _________________________________
16                                           James R. Greiner
                                             Attorney for David T. Ussery
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           GOOD CAUSE APPEARING, IT IS SO ORDERED.
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20
21   DATED: August 23, 2006
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28                                               2
